                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN,

               Plaintiffs,

       v.                                                     Case No. 16-CV-00534

PAUL FELICIAN,
PHIL SIMMERT II,
JANE AND JOHN DOE(S)
CITY OF MILWAUKEE, and
ABC INSURANCE COMPANY,

               Defendants.


         DEFENDANTS’ RESPONSE BRIEF IN OPPOSITION TO PLAINTIFFS’
              MOTION TO STRIKE AND FOR ADDITIONAL RELIEF


       Defendants, Paul Felician, Phil Simmert and the City of Milwaukee, by and through its

counsel, Tearman Spencer, City Attorney, and Heather Hecimovich Hough, Assistant City

Attorney, and Jenny Yuan, Assistant City Attorney, hereby provide this Response Brief in

Opposition to Plaintiffs’ Motions to Strike and For Additional Relief, (Dkt. 123). For the reasons

set forth below, defendants request that the Court deny Plaintiffs’ Motions to Strike and for

Additional Relief. As fully briefed by defendants on October 1, 2020, defendants are entitled to

summary judgment on all claims. (Defs.’ Br. in Supp. of Mot. for Summary Judgment, Dkt.

109). As briefed by defendants on October 20, 2020, plaintiffs’ motion for summary judgment

should be denied (Defs.’ Resp. Brief to Pl. Motion for Summary Judgment, Dkt. 125).

Defendants request that the Court dismiss this action in its entirety.




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                                        BACKGROUND

       Plaintiffs filed a motion seeking to strike Defendants’ Motion for Summary Judgment,

asserting that defendants’ summary judgment request is not “tailored to new issues” (Pl.’s Br. in

Supp. Of Mot. To Strike, p. 2, Dkt. 124). Plaintiffs assert that defendants’ most recent Summary

Judgment motion is “a flagrant violation of this Court’s specific orders.” (Pl.’s Br. in Supp. Of

Mot. To Strike, p. 3, Dkt. 124). Plaintiffs assert that defendants’ are not entitled to bring this

motion, despite the fact that discovery has now occurred, and once again mischaracterizes Judge

Jones’ previous order on Summary Judgment as a legal ruling in plaintiffs’ favor. (Id. at 6-9).

Plaintiffs ask this Court to strike Defendants’ Motion for Summary Judgment, asserting that

defendants’ are attempting to “bootstrap appellate jurisdiction after waiver.” (Pl.’s Br. in Supp.

Of Mot. To Strike, p. 10, Dkt. 124). Plaintiffs assert that “public policy must provide for”

liability of defendants and for those in a position to intervene. (Id. at 11). Plaintiffs assert that

defendants’ findings of fact violate local rules and therefore should be stricken. Plaintiffs also

request sanctions. Defendants respond in whole-hearted opposition to each of these assertions as

follows.

                                          ARGUMENT

       1.      Defendants’ Summary Judgment Motion is tailored to post-discovery, new
               undisputed facts that must be considered by this Court and is not in violation
               of this Court’s orders.

       Plaintiffs argue that because they stipulated with defendants to bifurcate this case to

allow for summary judgment to occur pre-discovery, that defendants are now somehow

precluded from bringing forward a motion for summary judgment based upon post-discovery

findings of fact. The parties in this case entered into a stipulation to allow for summary

judgment prior to discovery (understanding that discovery, with multiple experts and witnesses,



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from across the country, would require a significant investment of time and expense). In the

interest of saving time and resources, the parties agreed to allow pre-discovery dispositive

motions; however, the parties did not stipulate to forbid post-discovery dispositive motions. The

stipulation allowed defendants to file motions “based upon known legal defenses to Plaintiffs’

Complaint (as amended).” (Dkt. 20, p. 3). Pre-discovery, summary judgment was granted in

favor of defendants in some respects which certainly saved both plaintiffs and defendants

significant resources and time during the discovery process.

       Now that discovery has concluded, defendants assert based upon new and undisputed

facts unveiled in discovery, summary judgment is warranted. Plaintiffs had identified over 30

witnesses (Dkt. 74) since rulings were made on previous summary judgment motions. Some of

those witnesses included Milwaukee Fire Department personnel, additional Milwaukee Police

Department (“MPD”) personnel, City of Milwaukee Department of Neighborhood Services

(“DNS”) personnel, Department of Natural Resources (“DNR”) personnel, and representatives

from the Milwaukee Area Domestic Animal Control Commission (MADACC). Representatives

from all of these entities, and others, were on scene during the execution of the warrants. During

discovery, after the deposition of a number of witnesses, including plaintiff Terry Cullen, his

girlfriend, Jane Flint, and a number of plaintiffs’ witnesses that plaintiffs claimed were on scene

during some portion of the execution of the search warrants, plaintiffs conceded that they could

not identify one witness who made personal observations or could testify that defendants

Felician or Simmert caused or observed damage to the properties associated with plaintiffs (Dkt.

110, DPFOF 122 - 128). Based upon this information, and newly discovered facts revealed

during the depositions of defendants and MPD officer Ivan Wick such as the steps Defendant

Simmert took to obtain a warrant, the considerations made for the seizure of the animal portfolio,



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and the role and involvement of the named defendants in the execution of the warrants,

defendants filed a new motion for summary judgment on October 1, 2020, relying on the

undisputed facts as revealed during discovery, now that the factual record is complete.

        While defendants did assert a qualified immunity defense pre-discovery, defendants are

not barred from asserting qualified immunity at this stage in litigation. The doctrine of qualified

immunity recognizes that litigation is costly, and that the defense of qualified immunity can be

asserted at various stages. Defendants may raise a claim of qualified immunity at three distinct

stages of litigation:

        1.      Defendants may raise the defense on the pleadings. “Unless the plaintiff's

                allegations state a claim of violation of clearly established law, a defendant

                pleading qualified immunity is entitled to dismissal before the commencement of

                discovery.” Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S.Ct. 2806, 2815, 86

                L.Ed.2d 411 (1985).

        2.      If a defendant cannot obtain a dismissal on the pleadings, he or she may move for

                summary judgment and “is entitled to summary judgment if discovery fails to

                uncover evidence sufficient to create a genuine issue as to whether the defendant

                in fact committed those acts.” Id.

        3.      The defense of qualified immunity is also available at trial.      See Behrens v.

                Pelletier, 516 U.S. 299, 116 S.Ct. 834, 839, 133 L.Ed.2d 773 (1996); Unwin v.

                Campbell, 863 F.2d 124, 132 n. 5 (1st Cir.1988); Kennedy v. City of

                Cleveland, 797 F.2d 297, 299 (6th Cir.1986), cert. denied, 479 U.S. 1103, 107

                S.Ct. 1334, 94 L.Ed.2d 185 (1987).

        Our own Seventh Circuit has held that “while qualified immunity may not entitle



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defendant to dismissal on the pleadings, qualified immunity may entitle the defendant to

summary judgment later on. And because each determination is conclusive as to the defendant's

right to avoid the burdens of pretrial discovery and trial, a denial of qualified immunity can be a

“final decision” at both stages of the litigation.” Hanson v. LeVan, 967 F.3d 584, 591–92 (7th

Cir. 2020) (citing Behrens, 516 U.S. at 307–08, 116 S.Ct. 834). Thus, pleading qualified

immunity more than once is not barred; particularly since it is being raised in this motion based

upon new, undisputed facts that have been revealed in discovery.

       2.      Judge Jones’ denial of summary judgment is not a ruling that a
               constitutional deprivation occurred.

       Plaintiffs’ Motion to Strike is merely a recitation of Plaintiffs’ most recent motion for

summary judgment in a different format. In support of their motion to strike, Plaintiffs offer the

same assertion as was housed within their brief in support of Plaintiffs’ Motion for Summary

Judgment (Dkt. 117), that Judge Jones’ pre-discovery decision (Dkt. 62) to deny defendants’

motion for summary judgment means Judge Jones ruled that the warrants and search and seizure

of animals and firearms were unconstitutional as a matter of law.

       While defendants responded to this argument in their reply brief in opposition to

plaintiffs’ motion for summary judgment (Dkt. 125), defendants reiterate that if Judge Jones

made legal rulings in plaintiffs’ favor in the manner characterized by plaintiffs, Judge Jones

would have entered judgment independent of the motion as per Fed. R. Civ.P. 56(f)(1) – (3).

Rule 56(f)(1)-(3) allows the court to enter judgment independent of the motion by granting

summary judgment for a nonmovant, granting a motion on grounds not raised by a party, or

considering summary judgment on its own after identifying for the parties undisputed material

facts. Fed. R. Civ. P. 56(f)(1)–(3). Judge Jones did not enter judgment independent from

denying defendants’ summary judgment. Judge Jones’ decision merely meant he found he could

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not grant summary judgment in favor of defendants on the seizure of all the animals, seizure of

the firearms and other personal property, and unreasonable damage to their properties given the

facts that were presented to him at the time. Post discovery, the record is now fully developed

and the parties are aware of additional facts in this case that change the legal analysis. Plaintiffs

are inaccurate in asserting that this Court has made legal rulings in favor of plaintiffs.

       3.       Judge Jones’ assessment of the particularity requirement of the Fourth
                Amendment was based upon the four corners of the warrant and not of
                newly discovered information pertaining to the inclusion of other animals.

       Plaintiffs mischaracterize defendants’ position as it relates to the particularity

requirement of the Fourth Amendment. Plaintiffs state in their brief that “Defendants would

have this Court believe that – where a Search warrant is supported by probable cause – that

warrant necessarily passes the 4th Amendment’s ‘particularity requirement’, and then cites

defendants’ brief, Dkt. 109, p. 7-8. This is an inaccurate representation of Defendants’ brief and

position.    In fact, defendants’ brief clearly differentiates between the two and states,

“Magistrate Judge Jones already ruled that the warrants at issue in this case was supported by

probable cause. (DPFOF 6.) Magistrate Judge Jones left open for trial the question of whether

the 13th/17th Street Warrant satisfied the particularity requirement. (DPFOF 6.)” (Dkt. 109 p. 7).

       Related to the particularity requirement, Magistrate Judge Jones questioned the inclusion

of spiders, snakes and turtles “without any basis to believe those creatures were endangered or

threatened under Wisconsin law or otherwise associated with illegal activities.” (Dkt. 62).

During discovery, additional details related to Defendant Simmert obtaining the warrant were

revealed that provided the basis to believe those creatures were endangered or threatened. These

newly discovered details, and others, provided undisputed facts related to the warrant similar to

case law already decided in the Seventh Circuit and the United States Supreme Court that



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defendants now ask this Court to consider for summary judgment. The two cases that are

relevant based upon these newly discovered facts are Russell v. Harms, 297 F.3d 458, 464 (7th

Cir. 2005), and Massachusetts v. Sheppard, 468 U.S. 981, 989-90, 104 S. Ct. 3424, 3428–29, 82

L. Ed. 2d 737 (1984).

       Plaintiffs do not address Sheppard in their Motion to Strike but assert that somehow

Harms confirms plaintiffs’ claims that the “animals should have been returned to them” (Dkt.

124, pg 7) because in Harms, “Plaintiffs’ property was returned to them” and that Harms

“simply confirms that all non-evidentiary, non-contraband property seized by warrant, must be

returned to the owner.” (Dkt. 124, pgs. 7-8). This assertion is misleading and defendants are

alarmed by plaintiffs’ candor to this Court as it relates to this case. The Seventh Circuit made no

ruling related to the return of property in Harms. The only mention of the return of property

in Harms is in the brief background summary the Court provides. Harms, 297 F.3d at 462 (7th

Cir. 2005).

       As defendants summarized Harms in their brief in support of summary judgment,

       “Plaintiffs filed an action under § 1983 and asserted that the warrant was
       unconstitutionally overbroad because it “would not enable an officer reading it to
       differentiate between those items subject to the warrant and property lawfully possessed.”
       Id. at 464. Plaintiffs claimed that the warrant “did not catalogue the individual movie and
       game titles allegedly stolen” from a video store and allowed officers to seize any and all
       videotapes and games, with no meaningful limits, found in plaintiffs’ property. Id at 464.
       Plaintiffs also contended that officers exceeded the scope of the warrant by seizing
       DVDs, CDs, blank videotapes and non-Nintendo games that were not listed in the
       warrant. Id. at 464. The Seventh Circuit held that “the warrant gave the officers as much
       guidance as was feasible.” Id. at 464 (citing United States v. Vitek Supply Corp., 144 F.3d
       476, 481 (7th Cir. 1998)). The Seventh Circuit in Harms held that defendants did not
       violate plaintiffs’ rights under the Fourth Amendment and affirmed the district court’s
       decision. Id. at 468.”

(Dkt 109, pg. 9).




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           4.       Judge Jones’ assessment of the animal seizure was pre-discovery and based
                    upon facts taken in light most favorable to the plaintiffs and did not include
                    newly discovered and undisputed information.

           Plaintiffs assert that defendants resurrect arguments related to the seizure of all animals

and assert that it is the same as pled pre-discovery. This is inaccurate. First, based upon

discovery, defendants ask this court to consider the totality of the circumstances which parties

now know include the placarding of the property by DNS, deeming it uninhabitable for humans,

and therefore, leaving no one to care for the hundreds of animals housed within. Based upon

deposition testimony of Plaintiff Cullen and defendants it is undisputed that Plaintiff Cullen

asserted to MPD officers he was out of town for weeks and therefore MPD, at the time relevant

to making decisions regarding seizure of the animals, believed that no one was available to care

for the animals. These are newly discovered, undisputed facts relied upon by defendants in

moving this Court for summary judgment.

           5.       Judge Jones’ assessment of supervisory liability and/or failure to intervene
                    pre-discovery and based upon facts taken in light most favorable to the
                    plaintiffs and did not include newly discovered, undisputed information.

           Defendants request that this Court dismiss Simmert because he was not present at all

properties during the execution of the warrants on all days, he had no supervisory role to play

and did not witness any destruction or removal of property and therefore had no duty to

intervene.       Most importantly, post-discovery, this cannot be disputed by plaintiffs and no

evidence exists to suggest otherwise. At the time Judge Jones made his ruling on summary

judgment, these facts were not fully developed as they are now. At that time, there may have

been a dispute of fact as to whether or not Simmert served as a supervisor or led the effort as

discovery had not commenced.1                  At this point, after extensive discovery and depositions,

Plaintiffs have conceded to not having one witness who can testify otherwise, and defendants’

1
    Other than one deposition of Stephen Glynn that is not relevant to this issue.

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deposition provides sworn testimony that cannot be disputed.

       6.      Plaintiffs’ allegations that defendants waived appellate jurisdiction and
               defendants’ motion for summary judgment is an attempt to appeal is
               inaccurate and not supported by law.

       Plaintiffs assert to this Court that defendants’ motion must be stricken because it is an

attempt to “bootstrap appellate jurisdiction” and that defendants have waived that by failing to

appeal the first summary judgment ruling in this case. However, case law does not support the

notion that defendants cannot appeal more than once on the issue of qualified immunity and in

fact, support the notion that defendants can, in the same case, appeal at both the pre-discovery

and post-discovery stages of litigation. Plaintiffs cite to Mitchell v. Forsyth, 472 U.S. 511, 105

S. Ct. 2806 (1985), and Levan v. George, 604 F. 3d 366 2010 WL 1688529 (7th Cir. 2010) for

support. However, and once again, these cases do not support plaintiffs’ assertions.

       First, Mitchell itself is a case where the Court of Appeals was asked twice to review

successive pretrial assertions of immunity. Mitchell v. Forsyth, 472 U.S. 511, 515-517, 105 S.

Ct. 2806 (1985). This fact supports defendants’ ability to raise the qualified immunity defense

post-discovery. Behrens v. Pelletier, another Supreme Court case, further bolsters defendants’

position that qualified immunity can be raised more than once. See Behrens v. Pelletier, 516

U.S. 299, 116 S. Ct. 834, 838–39, 133 L. Ed. 2d 773 (1996). In Behrens, plaintiff sued defendant

alleging constitutional violations. Defendant appealed an unfavorable qualified immunity ruling

from a motion to dismiss pre-discovery, and subsequently appealed an unfavorable qualified

immunity ruling from a summary judgment motion post-discovery. The Court of Appeals

dismissed one of the two appeals for lack of jurisdiction and the Supreme Court held that despite

the prior appeal the summary judgment denial on grounds of qualified immunity was also an

appealable final judgment, the appeal was available even if claims remained for trial and material



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fact issues remaining for trial did not preclude the appeal. See Behrens Synopsis, Behrens, 516

U.S. at 299. Behrens notes that “ . . . Mitchell itself dealt with the second of two interlocutory

appeals on immunity claims. See 472 U.S., at 515–519, 105 S.Ct., at 2809–2812. Neither the

Court of Appeals nor this Court assigned any significance to the successive aspect of the second

appeal.” Behrens, 516 U.S. at 306, n.2. Behrens provides that, “Mitchell clearly establishes that

an order rejecting the defense of qualified immunity at either the dismissal stage or the summary

judgment stage is a ‘final’ judgment subject to immediate appeal. Since an unsuccessful appeal

from a denial of dismissal cannot possibly render the later denial of a motion for summary

judgment any less ‘final,’ it follows that petitioner's appeal falls within § 1291 and dismissal was

improper.” Id. at 307. The defense of qualified immunity is not only available to be raised at

multiple stages in litigation, but defendants have a right to appeal an adverse ruling on a

qualified immunity motion. See Behrens, 516 U.S. at 305-306. “[A]n order denying qualified

immunity, to the extent it turns on an ‘issue of law,’ Mitchell, 472 U.S., at 530, 105 S.Ct., at

2817, is immediately appealable.” Behrens, 516 U.S. at 311.

       Thus, in this case, defendants would be allowed to appeal directly to the 7th Circuit based

upon pre-discovery and post-discovery motions and plaintiffs’ assertions to the contrary are not

supported by the case law recognizing that the defense of qualified immunity protects defendants

from trial as well as the other burdens of litigation. See Behrens, 516 U.S. at 306. Behrens also

addresses Plaintiffs’ allegation that defendants are somehow “bootstrapping appellate

jurisdiction.” Behrens provides:

       [t]he Court of Appeals expressed concern that a second appeal would tend to have
       the illegitimate purpose of delaying the proceedings. See 968 F.2d, at 870–871.
       Undeniably, the availability of a second appeal affords an opportunity for abuse,
       but we have no reason to believe that abuse has often occurred. To the contrary,
       successive pretrial assertions of immunity seem to be a rare
       occurrence. Moreover, if and when abuse does occur, as we observed in the

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       analogous context of interlocutory appeals on the issue of double jeopardy, “[i]t is
       well within the supervisory powers of the courts of appeals to establish summary
       procedures and calendars to weed out frivolous claims.”

Behrens, 516 U.S. at 310 (quoting Abney v. United States, 431 U.S., 651 at 662, n. 8, 97 S.Ct.,

2034 at 2042, n. 8.(1977)).

       Plaintiffs also rely on Levan v. George to assert that somehow Defendants’ motion for

summary judgment should be stricken so that Defendants cannot appeal. Plaintiffs summarize

this case as follows “appellate court is deprived of jurisdiction where officer failed to file

interlocutory appeal challenging adverse qualified immunity rulings.”         (Dkt. 124, p. 10).

Plaintiffs inaccurately represent this case to the Court as well. In Levan, the Seventh Circuit

analyzed whether the district court denied qualified immunity when it denied summary judgment

because the district court failed to use the term “qualified immunity.” Levan v. George, 604 F.3d

366, 369 (7th Cir. 2010). The Seventh Circuit also held that jurisdiction was lacking under the

collateral order doctrine in this case. The court asserted that “just because an order denying a

motion to dismiss on qualified immunity grounds is generally considered a final decision, it does

not mean that the right to appeal that order is unlimited. If the denial of qualified immunity

turns on factual rather than legal questions, the denial is not properly subject to appellate

jurisdiction under the collateral order doctrine because the decision is not “final.” (emphasis

added). Levan, 604 F.3d at 369, citing Johnson v. Jones, 515 U.S. 304, 313–18, 115 S.Ct. 2151,

132 L.Ed.2d 238 (1995); Wernsing, 423 F.3d at 741. Levan, then, favors defendants’ ability to

appeal a ruling on their most recent summary judgment motion because the newly discovered

facts in this case cannot be disputed. As fully briefed in defendants’ motion for summary

judgment filed on October 1, 2020, based on the undisputed facts in this case, post-discovery, the

defendants are entitled to qualified immunity as to the seizure of all the animals. No reasonable



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police officer would have believed he was violating plaintiffs’ constitutional right when seizing

all the animals in light of having a valid warrant, hearing the recommendation of animal experts

on scene who believed the animals to be mistreated, and the facts confronting the officers on

scene. See Saucier v. Katz, 533 U.S. 194, 202 (2001); Heien v. North Carolina, 574 U.S. 54, 60-

61, 135 S.Ct. 530, 536, 190 L.Ed.2d 475 (2014); Brinegar v. United States, 338 U.S. 160, 176,

69 S. Ct. 1302, 93 L.Ed. 1879 (1949).

       7.      Plaintiffs’ public policy argument in support of their Motion to Strike is
               undeveloped.

      Plaintiffs assert that this Court must rule in plaintiffs’ favor to strike defendants’ summary

judgment motion because “public policy” must provide for the liability of defendants (Dkt. 124,

p 11). Plaintiffs assert the following, “Under Defendants’ theory, Plaintiffs would have to name,

serve, depose, and prosecute every individual MPD officer (and any 3rd party assistants like the

zoo and museum officials on scene; along with the MFD, DNS & DNR).” (Dkt. 124, p. 11).

Because of this, plaintiffs assert that somehow public policy dictates this Court must strike

defendants’ motion for summary judgment. It is unclear to defendants how this would support

plaintiffs’ motion to strike. Plaintiffs, in bringing forth this lawsuit, have the burden to show that

the defendants they named, Felician and Simmert, are liable for the alleged damages they plead.

Under Section 1983, plaintiffs must show personal involvement on the part of Felician and

Simmert for the constitutional violation they are claiming. See Gentry v. Duckworth, 65 F.3d

555, 561 (7th Cir. 1995).

      It is absolutely the plaintiffs’ burden to investigate their case and obtain evidence to

support liability on the part of the individual defendants plaintiffs are seeking to hold liable in

their lawsuit. If that means plaintiffs should have hired investigators (they did) or if plaintiffs’

counsel had to take depositions of witnesses on scene with pertinent information, that is what

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should have occurred. The two individually named defendant officers in this case, Felician and

Simmert, should not be subjected to the burden of trial for constitutional violations just because

plaintiffs are claiming, with no evidence, that Felician and Simmert are personally involved in an

alleged constitutional violation. Just because plaintiffs claim damages to property four weeks

after the execution of a search warrant does not mean Felician and Simmert caused it or had an

opportunity to prevent it. Just because plaintiffs claim it was unlawful for all animals to be seized

from their properties does not mean that individually named officer defendants Felician and

Simmert are liable under the law, given the undisputed facts in this case.

      Plaintiffs and plaintiffs’ counsel were well aware of the multiple witnesses on scene

during the execution of the search warrants. The identities of said persons were contained in

police reports fully disclosed to plaintiffs. Of all of the many witnesses on scene, after extensive

discovery in this case, plaintiffs are still unable to provide one witness that can assert Defendants

Felician and Simmert are liable for their claimed damages. Individually named officers Felician

and Simmert should not and cannot be held accountable for any allegations against them that are

completely unsupported on the basis of public policy, or the notion that someone has to be liable.

This court should disregard plaintiffs’ assertion that public policy should hold Defendants

Felician and Simmert accountable for wrongs Plaintiffs cannot dispute.

       8.      Plaintiffs should respond to defendants’ proposed findings of fact in
               accordance with the local rules if plaintiffs are in disagreement with
               defendants’ format.

      Plaintiffs ask this Court to strike defendants’ proposed findings of fact alleging that they

are in violation of the local rules. Defendants had objections to plaintiffs’ proposed findings of

fact and filed the appropriate response on October 20, 2020 in accordance with the Eastern

District of Wisconsin’s local rules, Civil L.R. 56(b)(2)(B). Because the local rules also provide



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that “[c]ollateral motions, such as motions to strike, are disfavored,” (Civil L. R. 56(b)(9), we

request that this Court oppose plaintiffs’ request in this Motion to Strike and that plaintiffs

address issues with defendants’ proposed findings of fact by filing the appropriate response.

                                        CONCLUSION

         For the foregoing reasons, this Court should deny Plaintiffs’ Motions to Strike and for

Additional Relief.

         Dated and signed at Milwaukee, Wisconsin 21st day of October, 2020.

                                                     TEARMAN SPENCER
                                                     City Attorney



                                                     s/ Heather Hecimovich Hough
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